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              Supplemental Declaration of Amy Fly on Behalf of Marcus White

My name is Amy Fly. I am an attorney who is licensed to practice in the state of Pennsylvania.
On April 20, 2020, I spoke with Marcus White (Bookin#19056720), a detainee in the Dallas
County Jail. He provided me with the following information:

   1. Mr. White is currently detained on the fifth floor of the North Tower in the West Wing,
      Dorm 4.

   2. On April 19, 2020, at 8:55pm, an officer holding a camera came to Mr. White’s dorm and
      recorded a male nurse with an Australian accent taking Mr. White’s temperature,
      checking his heart rate, and asking for his symptoms. Mr. White told him he had been
      having sore throat, shortness of breath, nasal congestion and diarrhea since March 25,
      2020 and that he has not received any kind of treatment for any of those symptoms. The
      nurse left without treating Mr. White.

   3. At around 11:20pm the same night, the officer with the camera and the nurse returned
      and asked Mr. White to step out of his dorm. Again, the officer recorded the nurse taking
      Mr. White’s temperature, checking his heart rate, and asking for his symptoms. Mr.
      White repeatedly asked why he was being recorded, why no one else in his dorm was
      being checked, and why he was just now being treated at 11:20pm after a month of
      receiving no treatment for the same symptoms. Each time, the nurse tried to accuse Mr.
      White of refusing medical treatment. Mr. White clarified that he was not refusing
      treatment – indeed he stated he wanted all the medical help he could get.

   4. Around 12:30am, the officer came on the intercom and asked Mr. White to step out of his
      dorm for a third time. Again, the officer recorded a nurse, this time a female African
      American nurse, taking Mr. White’s temperature, checking his heart rate, and asking for
      his symptoms. She gave him Tylenol and medication for his sore throat. This was the first
      time Mr. White received any treatment for his symptoms. He asked this nurse the same
      questions – why was he being recorded and why hasn’t he been given any treatment after
      testing positive for the coronavirus. The officer recording the encounter took a step
      backward and said “none of the officers who worked down here were notified.”

   5. During all three interactions, no one was wearing a mask. At one point, the officer filmed
      a nurse giving Mr. White a mask. But when the officer turned off the camera, they took
      the mask back.

I declare under the penalty of perjury that the foregoing is true and correct. I have read this
declaration to Mr. Bailey and he confirmed its accuracy.

April 20, 2020                                        __/s/Amy Fly_____________________
York, PA                                              Amy Fly
